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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                  CR 17-16-GF-BMM

             Plaintiff,

      vs.                                   ORDER

 RICHARD DALE STAMPKA,

             Defendant.



      Upon the request of the United States, and for good cause shown,

      IT IS ORDERED that the warrant for the arrest of Richard Dale Stampka is

quashed and the petition for violations of supervised release (Doc. 244) is

dismissed.

      DATED this 9th day of November, 2020.
